         Case 4:19-cv-07123-PJH Document 97 Filed 06/17/20 Page 1 of 2




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12   Attorneys for Plaintiffs WhatsApp Inc. and
     Facebook, Inc.
13
                                  UNITED STATES DISTRICT COURT
14
                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
15
                                          OAKLAND DIVISION
16
     WHATSAPP INC., a Delaware corporation,
                                       )
17   and FACEBOOK, INC., a Delaware    )           Case No. 4:19-cv-07123-PJH
     corporation,                      )
18                                     )
                     Plaintiffs,       )           NOTICE OF APPEARANCE OF
19                                     )           MICAH G. BLOCK
            v.                         )
20                                     )
     NSO GROUP TECHNOLOGIES LIMITED )
21   and Q CYBER TECHNOLOGIES LIMITED, )
                                       )
22                   Defendants.       )
                                       )
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          Case 4:19-cv-07123-PJH Document 97 Filed 06/17/20 Page 2 of 2




 1   TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF RECORD:

 2          PLEASE TAKE NOTICE THAT Micah G. Block of the law firm of Davis Polk &

 3   Wardwell LLP hereby appears in this action as counsel on behalf of Plaintiffs WhatsApp Inc. and

 4   Facebook, Inc. (“Plaintiffs”). Plaintiffs respectfully request that all pleadings and other documents

 5   be addressed to and served upon Micah G. Block using the contact information set forth below.

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11   Dated: June 17, 2020                          Respectfully Submitted,
12                                                 DAVIS POLK & WARDWELL LLP
13
                                                   By: /s/ Micah G. Block
14
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                                                           Attorneys for Plaintiffs WhatsApp Inc. and
27                                                         Facebook, Inc.

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                                                       1
     NOTICE OF APPEARANCE OF MICAH G. BLOCK
     CASE NO. 4:19-CV-07123-PJH
